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A 0 245B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case



                                 UNITED STATES DISTRICT COURT
                                                             MIDDLE DISTRICT OF FLORIDA
                                                                  TAMPA DIVISION



UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                                                      CASE NUMBER:       8:05-cr-481-T-23EAJ
                                                                      USM NUMBER:
VS   .

OLGA LEZCANO
                                                                      Defendant's Attorney: Ronald Marzullo, cja

THE DEFENDANT:


& was found guilty on counts ONE and NINE after a plea of not guilty.

TITLE & SECTION                           NATURE OF OFFENSE                            OFFENSE ENDED                     COUNT

18 U.S.C. 5 371                           Conspiracy to Commit Mail Fraud              January 6, 2003                   ONE

18 U.S.C. 5 1341 and 2                    Mail Fraud                                   April 2, 2001                      NINE


        The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.



IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.

If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                       Date of Imposition of Sentence: February 26, 2007




                                                                                            STEVEN D. RXERRYDAY     1
                                                                                       UNITED STATES DISTRICT JUDGE

                                                                                       DATE: February ~ f l 2 0 0 7
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A 0 245B (Rev. 06/05)Sheet 4 - Probation (Judgment in a Criminal Case)

Defendant:            OLGA LEZCANO                                                                          Judgment - Page 2of 5
Case No.:             8:05-cr-481-T-23EAJ
                                                                         PROBATION

The defendant is hereby placed on probation for a term of FORTY-EIGHT (48) MONTHS as to Counts One and Nine, both terms
to run concurrently.

         While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a
firearm, anmunition, or destructive device as defined in 18 U.S.C. 5 921.

           The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
           controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
           authorizes random drug testing not to exceed 104 tests per year.

           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk
           of future substance abuse.

           The defendant shall cooperate in the collection of DNA as directed by the probation officer.

           If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the
           Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
           conditions on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer:

           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five
           days of each month;

           the defendant shall answer truthfully all inquiries by the probation officer and follow the instruction of the probation officer;

           the defendant shall support his or her dependents and meet other family responsibilities;

           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
           other acceptable reasons;

           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance, or any paraphernalia related to any controlled substances, except as prescribed by a physician;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

           the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
           convicted of a felony, unless granted permission to do so by the probation officer;
           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
           of any contraband observed in plain view by the probation officer;

           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
           officer;

           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
           the permission of the court; and

           as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or personal-history. or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compl~ancew~thsuch notification requ~remcnt.
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A 0 245B (Rev 06/05) Sheet 4C - Probation (Judgment in a Criminal Case)

Defendant:           OLGA LEZCANO                                                                    Judgment - Page 3 of 5
Case No. :           8:05-cr-481-T-23EAJ




                                              SPECIAL CONDITIONS OF SUPERVISION

The defendant shall also con~plywith the following additional conditions of probation:

           The defendant shall participate in the Home Detention program for a period of 180 DAYS , During this time, defendant
           will remain at defendant's place of residence except for employnlent and other activities approved in advance by the
           defendant's Probation Officer. Defendant will be subject to the standard conditions of Home Detention adopted for use in
           the Middle District of Florida, which may include the requirement to wear an electronic monitoring device and to follow
           electronic monitoring procedures specified by the Probation Officer. Further, the defendant shall be required to contribute
           to the costs of services for such monitoring not to exceed an amount determined reasonable by the Probation Officer based
           on ability to pay (or availability of third party payment) and in conformance with the Probation Office's Sliding Scale for
           Electronic Monitoring Services.

           The defendant shall participate in a mental health treatment program and follow the probation officer's instructions regarding
           the implementation of this court directive. Further, the defendant shall be required to contribute to the costs of services for
           such treatment in an amount determined reasonable by the probation officer based on ability to pay or availability of third
           party payment and in conformance with the Probation Office's Sliding Scale for Mental Health Treatment Services.

           The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, acquisitions or
           obligating herself for any major purchases without approval of the probation officer.

           The defendant shall provide the probation officer access to any requested financial information.
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A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)
Defendant:           OLGA LEZCANO                                                                       Judgment - Page 4 of 5
Case No. :           8 :05-cr-481-T-23EAJ



                                                 CRIMINAL MONETARY PENALTIES


           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                Assessment                                 Fine                         Total Restitution


           Totals:              $200.00                                    $ waived                     $28,245.06



-         The determination of restitution is deferred until                   .     An Amended Judgnterzt in a Crir?tirzalCase ( A 0 245C) will
          be entered after such determination.

-         The defendant must make restitution (including commuility restitution) to the following payees in the amount listed
          below.

          If the defendant makes a partial payment, each payee shall receive an approxin~atelyproportioned payment, unless
          specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S. C. 5
          3664(i), all non-federal victims must be paid before the United States.



Name of Pavee                                        Total Loss*                     Restitution Ordered               Prioritv or Percentape

Direct General Insurance Company                                                     $ 10,000.00
Attention: Ted Asyn
5905 Hampton Oaks Parkway
Tampa, FL 33610
Claim No. 40267 1

State Farnl Insurance Company
4620 Woodland Corporate Blvd.
Tampa, FL 33614
Claim No. 59-V713-824

                                Totals:              $                               $ 28,245.06


 -          Restitution amount ordered pursuant to plea agreement $
 -          The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
            before the fifteenth day after the date of the judgment, ursuant to 18 U. S .C. 5 36 12(f). All of the payment options on Sheet
            6 may be subject to penalties for delinquency and de&ull, pursuant to 18 U.S .C. 8 3612(g).

 -          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          -          the interest requirement is waived for the - fine                 - restitution.
          -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 1lOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1896.
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A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:            OLGA LEZCANO                                                         Judgment - Page 5 of 5
Case No. :            8:05-cr-481-T-23EAJ


                                                          SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.           X       Lump sum payment of $ 200.00 (special assessment) due immediately, balance due
                                 - not later than                        , Or

                                 - in accordance - C, - D, - E or - F below; or
B.        -          Payment to begin immediately (may be combined with -C, -D, or -F below); or
C.        -          Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $             over a
                     period of          (e.g . , months or years), to commence              days (e.g., 30 or 60 days) after the
                     date of this judgment; or
D.        -          Payment in equal                (e.g ., weekly, monthly, quarterly) installments of $               over a
                     period of
                                  , (e.g., months or years) to commence                      (e.g. 30 or 60 days) after release
                     from imprisonment to a term of supervision; or
E.         -         Payment during the term of supervised release will commence within                          (e.g., 30 or
                     60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                     the defendant's ability to pay at that time, or
F.           X        Special instructions regarding the payment of criminal monetary penalties:
                     RESTITUTION: 28 245 -06.
                                               %-
                     The defendant shall pay 1.OO per month, until she has a confirmed ability to pay more, at which time the
                     Court may alter the payment.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
h r e a u of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
X
-          Joint and Several:
           Olga Lezcano (1 I), defendant, Case No. 8:05-cr-48 1-T-23EAJ
           Ireno Luis Delgado (I), co-defendant, Case No. 8:05-cr-481-T-23EAJ
           Carlos Figueredo Lopez (4), co-defendant, Case No. 8:05-cr-48 1-T-23EAJ


-          The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost(s):
X
-          The defendant shall forfeit the defendant's interest in the following property to the United States:
           $28,245 -06 pursuant to the Forfeiture Money Judgment (Doc. 428) attached.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

     UNITED STATES OF AMERICA,

            Plaintiff,

                                                      Case No. 8:05-cr-481 -T-23EAJ

     OLGA LEZCANO,

            Defendant.


                            FORFEITURE MONEY JUDGMENT

            THIS CAUSE comes before the court upon the filing of the motion of the

     United States of America for entry of a Forfeiture Money Judgment, which, at

     sentencing, shall be a final order of forfeiture as to defendant Olga Lezcano.

     The court, being fully advised in the premises, hereby finds as follows:

            1.      That the amount of proceeds obtained by the defendant Olga

     Lezcano as a result of her participation in the conspiracy to commit mail fraud,

     contrary to the provisions of 18 U.S.C. § 1341, in violation of 18 U.S.C. 5 371,

     was $28,245.06 USD;

            2.      That, pursuant to the provisions of 18 U.S.C. 5 981(a)(l)(C),

     28 U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2(b)(2), the government is entitled

     to a forfeiture money judgment in the amount of the proceeds the defendant

     obtained as a result of the offense of conviction, which is $28,245.06 USD.

     Accordingly, it is hereby

            ORDERED, ADJUDGED and DECREED that the United States' motion is
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     GRANTED.

           It is FURTHER ORDERED that defendant Olga Lezcano is jointly and




          -
     severally liable to the United States of America for a forfeiture money judgment

     in the amount of $28,245.06 USD, pursuant to the provisions of 18 U.S.C.

     § 981(a)(l)(C),28 U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2(b)(2).

           DONE and ORDERED in Chambers in Tampa, Florida, this             2K     day

    of                         ,2006.



                                              HONORABLE STEVEN D. MERRYDAY
                                              UNITED STATES DISTRICT JUDGE



     Copies to: Adelaide G. Few, AUSA
                Attorneys of Record
